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VAN−161 Order Confirming Chapter 13 Plan − Rev. 11/30/2018

                             UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                                             Raleigh Division

IN RE:
Audrey Robertson                                                     CASE NO.: 18−02503−5−DMW
2823 Bedfordshire Ct
Raleigh, NC 27604                                                    DATE FILED: May 17, 2018

                                                                     CHAPTER: 13




                                        ORDER CONFIRMING CHAPTER 13 PLAN

THIS MATTER comes before the court upon the Trustee's Minutes and Motion for Confirmation at

                                                     Docket Number 29; and

incorporating changes to the plan; and

IT APPEARING to the court that the plan should be confirmed, incorporating any changes as stated in the
Trustee's Minutes and Motion for Confirmation.

NOW THEREFORE, IT IS HEREBY ORDERED that the plan is confirmed.

The trustee is directed to make payment of commissions and expenses to the trustee and fees and costs
to the debtor's attorney, Michael W. Hopper , in the amount of $5,000.00 as reasonable compensation, of
which the sum $167.00 was paid prior to the filing of this case. The balance of $4,833.00 shall be paid in
such a manner as may be authorized by the trustee. In the event the fee allowed is less than requested,
the debtor's attorney may request the court to reconsider the fee allowance upon appropriate motion for
reconsideration to be filed with the court within 20 days of entry of this order.

The trustee is directed to pay administrative expenses and creditors with timely filed proofs of claim
pursuant to the attached plan; the trustee is directed to make a final report and file a final account of the
administration of the estate with the court; the debtor(s) shall not transfer any interest in real property
without prior approval of the court; and this order does not prejudice the debtor(s) or trustee from objecting
to claims or from bringing any applicable avoidance action.

DATED: February 6, 2019

                                                                        David M. Warren
                                                                        United States Bankruptcy Judge
